      Rebecca Terry vs County of Milwaukee, et al.
                           17-CV-01112


                Transcript of the Testimony of:

             JULIE K. SHANAHAN
                           April 17, 2018




                                                          EXHIBIT 43
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·1· · · · · · IN THE UNITED STATES DISTRICT COURT

·2·   · · · · · · · EASTERN DISTRICT OF WISCONSIN
· ·   ·------------------------------------------------------
·3
· ·   ·REBECCA TERRY,
·4
· ·   · · · · · · · · ·Plaintiff,
·5
· ·   · · · · · · · ·vs.· · · · · · · · Case No. 17-CV-01112
·6
· ·   ·COUNTY OF MILWAUKEE, et al.,
·7
· ·   · · · · · · · · ·Defendants.
·8
· ·   ·------------------------------------------------------
·9

10

11

12

13· · · · · · · ·Deposition of JULIE K. SHANAHAN

14· · · · · · · · · Tuesday, April 17th, 2018

15
· ·   · · · · · · · · · · · ·10:02 a.m.
16
· ·   · · · · · · · · · · · · · ·at
17
· ·   · · · · · · · · · · LEIB KNOTT GAYNOR
18·   · · · · · · · ·219 North Milwaukee Street
· ·   · · · · · · · · · Milwaukee, Wisconsin
19

20

21

22

23

24· · · · · · · · Reported by Sandra K. Nelson

25· · · · · · · ·Registered Professional Reporter



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·1·   ·   ·   ·   · · · · · Deposition of JULIE K. SHANAHAN, a
·2·   ·   ·   ·   witness in the above-entitled action, taken at
·3·   ·   ·   ·   the instance of the Plaintiff, pursuant to the
·4·   ·   ·   ·   Federal Rules of Civil Procedure, pursuant to
·5·   ·   ·   ·   Notice, before Sandra K. Nelson, RPR and Notary
·6·   ·   ·   ·   Public, State of Wisconsin, at LEIB KNOTT GAYNOR,
·7·   ·   ·   ·   219 North Milwaukee Street, Milwaukee, Wisconsin,
·8·   ·   ·   ·   53202, on the 17th day of April, 2018 commencing
·9·   ·   ·   ·   at 10:02 a.m. and concluding at 11:44 a.m.
10
11
12·   ·A P P E A R A N C E S:
13·   · · · · · · · LOVEY & LOVEY, by
· ·   · · · · · · · · Ms. Aisha Davis
14·   · · · · · · · · 311 North Aberdeen Street, 3rd Floor
· ·   · · · · · · · · Chicago, Illinois 60607
15·   · · · · · · · · Appeared on behalf of Plaintiff;
16·   · · · · · · · LEIB KNOTT GAYNOR LLC, by
· ·   · · · · · · · · Mr. Randy Arnold
17·   · · · · · · · · 219 North Milwaukee Street, Suite 710
· ·   · · · · · · · · Milwaukee, Wisconsin 53202
18·   · · · · · · · · Appeared on behalf of County of
· ·   · · · · · · · · Milwaukee and David A. Clarke, Jr.,
19·   · · · · · · · · Officer Brian Wenzel, Jane and John
· ·   · · · · · · · · Doe, Unknown Employees of Milwaukee
20·   · · · · · · · · County Jail, Jane and John Doe,
· ·   · · · · · · · · Unknown Jail Supervisors;
21
· ·   ·   ·   ·   ·   ·   ·   ·   HINSHAW & CULBERTSON LLP, by
22·   ·   ·   ·   ·   ·   ·   ·   · Ms. Mollie T. Kugler
· ·   ·   ·   ·   ·   ·   ·   ·   · 100 East Wisconsin Avenue, Suite 2600
23·   ·   ·   ·   ·   ·   ·   ·   · Milwaukee, Wisconsin 53202
· ·   ·   ·   ·   ·   ·   ·   ·   · Appeared on behalf of Armor
24·   ·   ·   ·   ·   ·   ·   ·   · Correctional Health Services.
25

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                                                          · · · · · · · · · · · · · · ·) SS:
                                                          ·2· · · · MILWAUKEE COUNTY· ·)
                                                          ·3· · · · · · · · · I, Sandra K. Nelson, RPR and Notary
                                                          ·4· · · · Public in and for the State of Wisconsin, do
                                                          ·5· · · · hereby certify that the preceding deposition was
                                                          ·6· · · · recorded by me and reduced to writing under my
                                                          ·7· · · · personal direction.
                                                          ·8· · · · · · · · · I further certify that said deposition
                                                          ·9· · · · was taken at LEIB KNOTT GAYNOR, 219 North
                                                          10· · · · Milwaukee Street, Milwaukee, Wisconsin, 53202, on
                                                          11· · · · the 16th day of April, 2018 commencing at
                                                          12· · · · 10:02 a.m.
                                                          13· · · · · · · · · I further certify that I am not a
                                                          14· · · · relative or employee or attorney or counsel of
                                                          15· · · · any of the parties, or a relative or employee of
                                                          16· · · · such attorney or counsel, or financially
                                                          17· · · · interested, directly or indirectly, in this
                                                          18· · · · action.
                                                          19· · · · · · · · · In witness whereof, I have hereunto set
                                                          20· · · · my hand and affixed my seal of office on this 5th
                                                          21· · · · day of June, 2018.
                                                          22
                                                          23· · · · · · · · · · · · · ______________________________
                                                          · · · · · · · · · · · · · · ·SANDRA K. NELSON, RPR
                                                          24· · · · · · · · · · · · · ·Notary Public
                                                          25· ·My commission expires December 28, 2018.


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